                      Case 1:22-cv-00162-TNM Document 3 Filed 01/26/22 Page 1 of 1
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________


                    ROBERT SCHILLING                               )
                             Plaintiff                             )
                                v.                                 )      Case No.   1:22-cv-00162 (TNM)
SPEAKER OF THE HOSUE NANCY PELOSI ET AL.                           )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          ROBERT SCHILLING                                                                                                    .


Date:      January 26, 2022
                                                                                            Attorney’s signature


                                                                                          DC Bar No. 441047
                                                                                        Printed name and bar number


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